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John J. Kane (State Bar No. 24066794)
Brian W. Clark (State Bar No. 24032075)
KANE RUSSELL COLEMAN LOGAN PC
901 Main Street
Suite 5200
Dallas, Texas 75202-3705
Telephone: (214) 777-4200
Telecopy: (214) 777-4299
COUNSEL TO DEFENDANT CLO HOLDCO, LTD.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                                     §      Case No. 19-34054-sgj11
                                           §
HIGHLAND CAPITAL MANAGEMENT,               §
L.P.,                                      §      Chapter 11
                                           §
         Debtor                            §


HIGHLAND CAPITAL MANAGEMENT,               §
L.P.,                                      §
                                           §
         Plaintiff,                        §
                                           §       Adversary No. 21-03000-sgj
vs.                                        §
                                           §
HIGHLAND CAPITAL MANAGEMENT                §
FUND ADVISORS, L.P., NEXPOINT              §
ADVISORS, L.P., HIGHLAND INCOME            §
FUND, NEXPOINT STRATEGIC                   §
OPPORTUNITIES FUND, NEXPOINT               §
CAPITAL, INC., AND CLO HOLDCO,             §
LTD.,                                      §
                                           §
         Defendants.                       §
                                           §
                                           §
                                           §
                                           §

 DEFENDANT CLO HOLDCO LTD.'S OBJECTION AND MEMORANDUM OF LAW
  IN OPPOSITION TO DEBTOR'S MOTION FOR PRELIMINARY INJUNCTION
 AGAINST CERTAIN ENTITIES OWNED AND/OR CONTROLLED BY MR. JAMES
                            DONDERO


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         CLO Holdco, Ltd. ("CLO Holdco"), a Defendant in the above-styled Adversary Proceeding

brought by Highland Capital Management, L.P. (the "Debtor"), files this Objection and

Memorandum of Law (the "Objection") in opposition to Debtor's Motion for a Temporary Restraining

Order and Preliminary Injunction against Certain Entities Owned and/or Controlled by Mr. James Dondero (the

"Motion"), and respectfully requests that the Court deny the Debtor's Motion, decline to award

injunctive relief to the Debtor, and decline to enjoin CLO Holdco from any conduct. In support of

its Objection, CLO Holdco states as follows:

                                              I.
                            Summary of CLO Holdco's Response in Opposition

         1.        The Debtor lacks any factual or legal support for its claims and causes of action

against CLO Holdco. When distilled, the Debtor's allegations against CLO Holdco are as follows:

CLO Holdco joined in three letters to Debtor's counsel, CLO Holdco has some ties to James

Dondero, and so CLO Holdco violated the automatic stay, tortiously interfered with the Debtor's

operations, and should be enjoined from exercising its contractual rights under contracts that the

Debtor presumably intends to assume1 in their entirety or, as the Supreme Court puts it, cum onere.2

         2.        Unfortunately for the Debtor, it cannot satisfy its burdens of proof. First, CLO

Holdco did nothing to violate the automatic stay. CLO Holdco joined in three letters to the Debtor.

Those letters included requests, not demands. Those letters informed the Debtor that CLO Holdco

intended to take action in the future if necessary, but only in compliance with the express terms of

applicable contracts and applicable law, including section 362 of the Bankruptcy Code. CLO



1
  See Debtor's Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor pursuant to the Fifth Amended
Plan, (II) Cure Amounts, if any, and (III) Related Procedures in Connection Therewith (the "Plan Assumption Notice") [Dkt. No.
1648].
2 N.L.R.B. v. Bildisco and Bildisco, 465 U.S. 513, 531-32 (1984) (citing In re Italian Cook Oil Corp., 190 F.2d 994, 996 (3d Cir.

1951)).

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Holdco took no other actions related to the CLO Management Contracts3 in question. CLO Holdco's

actions do not violate any provisions of section 362 of the Bankruptcy Code.

           3.       Similarly, the Debtor cannot satisfy its burden of proving that CLO Holdco

tortiously interfered with the Debtor. A claim for tortious interference requires interference with a

contract and a resulting breach that causes damages. The Debtor cannot identify any contract that

CLO Holdco interfered with. The Debtor cannot show that it was damaged in any way by receiving

three letters joined by CLO Holdco. The Debtor admits that CLO Holdco's behavior did not cause

any breach of any contract at all.

           4.       Finally, the Debtor cannot satisfy its burden of proving that it should be entitled to

enjoin CLO Holdco from exercising its valid contractual rights under current contracts that the

Debtor plans to assume. CLO Holdco's actions pose no threat to the Debtor that it has not already

faced for, in most cases, more than a decade. CLO Holdco simply wishes to retain the benefit of its

bargain as a third-party beneficiary under the CLO Management Contracts. Under those contracts,

CLO Holdco may, in certain circumstances, vote for the removal of the Debtor as manager of CLO

funds in which CLO Holdco owns an interest. In most cases, CLO Holdco and a majority of

certain interest holders would have to prove "cause" for the removal of the Debtor as manager.

CLO Holdco is not seeking to expand its contractual rights under those agreements. CLO Holdco

owns approximately $45 million of interests in CLOs managed by the Debtor. Should cause exist to

remove the Debtor as manager, CLO Holdco would like to retain its rights to vote for removal. If,

however, no causes exists under those contracts, the Debtor is amply protected from removal. CLO

Holdco simply wishes to preserve its rights under the applicable CLO Management Contracts. By

contrast, the Debtor seeks injunctive relief against CLO Holdco in an effort to deprive it of the


3   As defined below.

DEFENDANT CLO HOLDCO LTD.'S MEMORANDUM OF LAW IN OPPOSITION
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benefit of its bargain, not to maintain the status quo. The Debtor would have CLO Holdco suffer

the ongoing management of its tens of millions of dollars of assets even if cause exists for the

removal of the Debtor as manager. At the same time, the Debtor has the audacity to say that it

would be harmed more than CLO Holdco in such an instance. That is fundamentally illogical, and it

is important to note that the Debtor owes duties to CLO Holdco as an investor in the applicable

CLO funds.

                                              II.
                                  Relevant Factual Background

A.       CLO Holdco's interests in CLOs managed by the Debtor.

         5.    CLO Holdco owns interests in certain funds managed by the Debtor pursuant to

portfolio management and servicing agreements, including the following funds ("Managed CLOs"):

Aberdeen Loan Funding, Ltd.; Acis CLO 2017-7; Brentwood CLO, Ltd.; Grayson CLO, Ltd.;

Liberty CLO, Ltd.; Red River CLO, Ltd.; Rockwall CDO, Ltd.; Loan Funding II, LLC (Valhalla);

and Westchester CLO, Ltd. As evidenced by the Debtor's Plan Assumption Notice the Debtor

intends to assume management contracts for substantially all of the aforementioned Managed CLOs

(the "CLO Management Contracts"). In many of the funds, CLO Holdco and the other Defendants

collectively own or manage a majority or even super-majority of the remaining beneficial interests in

the Managed CLOs.4 In total, CLO Holdco owns approximately $45 million of interests in CLOs

managed by the Debtor.




4 CLO Holdco, in combination with HCMFA and NexPoint, hold all, a supermajority, or a majority of
preference shares in Liberty CLO, Ltd. (70.43%); Stratford CLO, Ltd. (69.05%); Aberdeen Loan Funding,
Ltd. (64.58%); Grayson CLO, Ltd. (61.65%); Westchester CLO, Ltd. (58.13%); Rockwall CDO, Ltd.
(55.75%); Brentwood CLO, Ltd. (55.74%); and Greenbriar CLO, Ltd. (53.44%).

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            6.       Though the Debtor intends to assume the CLO Management Contracts, the Debtor

discloses in its Plan5 and Disclosure Statement6 that it may terminate its investment management

employees by the end of January 2021 and that the Reorganized Debtor may employ a Sub-Servicer

to perform the Debtor's current portfolio management duties and obligations. In his deposition,

Mr. Seery indicated that the Debtor actually intends to terminate most of its advisor employees, and

was determining whether to hire replacements or third-party consultants to assist with management

and advisory services.7

            7.       Looking forward, CLO Holdco will therefore have approximately $45 million of

interests in funds managed by a bankrupt debtor that is terminating most of its advisor employees,

hasn't "ironed out" who will be replacing them, and is liquidating its assets over the next two years

for the benefit of parties other than CLO Holdco. Needless to say, it is inconceivable that anyone

would volunteer to have an entity in that position manage their assets. But that is where the Debtor

currently stands.

B.          An Uncertain Future – Concerns Over Debtor's Post-Confirmation CLO
            Management

            8.       In December, 2020, CLO Holdco was warned that the Debtor had executed a series

of sales on behalf of certain CLO funds that may have been improper. While CLO Holdco

admittedly lacked specifics about the alleged trades, it did review certain pleadings filed by the other

Defendants in the Debtor's bankruptcy case and have its counsel attend the Court's December 16,

2020 hearing on that certain Motion for Order Imposing Temporary Restrictions on Debtor's Ability, as

Portfolio Manager, to Initiate Sales by Non-Debtor CLO Vehicles (the "Sale Injunction Motion") [Dkt. No.


5   Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (the "Plan") [Dkt. No. 1472].
6 Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (the "Disclosure
Statement") [Dkt. No. 1473]
7   Seery Deposition Transcript, Jan. 20, 2021, p. 107 ¶¶ 3-20.

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1528].       While the Court correctly denied the relief requested in the Sale Injunction Motion, CLO

Holdco was disconcerted by allegations that the Debtor may have violated the Investment Adviser

Act of 1940 when initiating certain sales.

            9.       On December 22, 2020, CLO Holdco joined the other Defendants in a letter to

Debtor's counsel simply requesting that the Debtor maintain the status quo and not execute any

additional sales in CLOs in which the Defendants' owned interests (the "December 22 Letter"). The

December 22 Letter included only requests, not demands, as CLO Holdco and the other

Defendants were mindful of the Court's prior ruling on the Sale Injunction Motion. The following

day, Defendants delivered a letter to Debtor's counsel that informed the Debtor of Defendants'

intent to remove the Debtor as manager of the Managed CLOs but in a manner compliant with

applicable law and the automatic stay (the "December 23 Letter"). After being threatened with

sanctions for making a request, Defendants delivered a letter to Debtor's counsel dated December

28, 2020 that explained the Defendants' request, noted that the Debtor could continue making the

sales despite the Defendants' request, and explained that any action taken to remove the Debtor as

manager of the Managed CLOs would comply with section 362 of the Bankruptcy Code (the

"December 28 Letter" and with the December 22 Letter and December 23 Letter, the "December

2020 Letters").

            10.      Importantly, CLO Holdco has not taken any steps to remove the Debtor as manager

of the Managed CLOs.                 Mr. Seery confirmed as much during his deposition in which he

acknowledged that other than CLO Holdco's joinder of the December 2020 Letters, he could not

recall any actions by or on behalf of CLO Holdco that could constitute tortious interference.8




8   Seery Deposition, Jan. 20, 2021, p. 94 ¶¶ 5-14.

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            11.       To be clear, CLO Holdco's joinder of the December 2020 Letters did not tortiously

interfere with the Debtor's operations. They had no effect on the Debtor's operations. As Mr.

Seery admitted, the delivery of the December 2020 Letters did not cause the Debtor to breach any

agreements, and certainly not the CLO Management Contracts.9

C.          CLO Holdco's Rights – The CLO Management Contracts

            12.       It is important to note that under those CLO Management Contracts the Debtor is

responsible for, among other things, making decisions to buy or sell the CLOs' assets in accordance

with their respective terms, which generally impose a duty on the Debtor when acting as portfolio

manager to maximize the value of the CLOs' assets for the benefit of the CLOs' noteholders and

preferred shareholders.10 Each of the CLO Management Contracts contains express language that

the portfolio manager's obligations thereunder are for the benefit of and "shall be enforceable at the

instance of the Issuer, the Trustee, on behalf of the Noteholders, or the requisite percentage of

Noteholders or Holders of Preference Shares, as applicable, as provided in the Indenture of the

Preference Share Paying Agency Agreement, as applicable."

            13.       The CLO Management Contracts also generally allow the holders of preference

shares to remove the portfolio manager for cause, while their affirmative consent is required to an


9   Id. at p. 62 ¶¶ 3-24.
10 In particular, the CLO Management Contracts contain language providing for the maximization or
preservation of value for the benefit of the preference shares as shown in the following examples:
In performing its duties hereunder, the Portfolio Manager shall seek to maximize the value of the Collateral
for the benefit of the Noteholders and the Holders of the Preference Shares taking into account the
investment criteria and limitations set forth herein and in the Indenture and the Portfolio Manager shall use
reasonable efforts to manage the Collateral in such a way that will (i) permit a timely performance of all
payment obligations by the Issuer under the Indenture and (ii) subject to such objective, maximize the return
to the Holders of the Preference Shares.
In performing its duties hereunder, the Servicer shall seek to preserve the value of the Collateral for the
benefit of the Holders of the Securities taking into account the Collateral criteria and limitations set forth
herein and in the Indenture and the Servicer shall use reasonable efforts to select and service the Collateral in
such a way that will permit a timely performance of all payment obligations by the Issuer under the Indenture.

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assignment of the agreements. Some CLO Management Contracts require an issuer to remove the

manager "for cause" upon a majority vote of preference shareholders. Other CLO Management

Contracts require an issue to remove the manager without cause upon a supermajority vote of the

preference shareholders. Under certain of those CLO Management Contracts, votes of affiliates of

the manager may not be considered when determining whether to remove the manager. That,

however, would have no effect on CLO Holdco. At his deposition, Mr. Seery readily admitted that

CLO Holdco is not an affiliate of the Debtor.11 Accordingly, CLO Holdco would be entitled to

vote its preference shares if it sought the removal of the Debtor as manager for cause or otherwise

under the CLO Management Contracts.

            14.       CLO Holdco readily acknowledges that under certain CLO Management Contracts,

a majority of preference shareholders would still have to prove that cause exists for the removal of

the Debtor as manager of the Managed CLOs. CLO Holdco has not yet completed its analysis of

whether cause exists, but recognizes that where cause is a condition precedent to removal, the voting

preference shareholders would have to satisfy their burdens of proof. While the Debtor would have

this court enjoin CLO Holdco from removing the Debtor as manager even upon a showing of

"cause," Mr. Seery recognized that perhaps some "cause," like fraud, would warrant the Debtor's

removal.12

            15.       CLO Holdco has legitimate big-picture concerns regarding the Debtor's continued

management of CLO's in which CLO Holdco owns $45 million of interests. The Debtor has

already experienced turnover among its advisor employees, many of whom have long worked with

or on behalf of CLO Holdco under certain advisory and service contracts. Mr. Seery admits that the

Debtor will terminate most of its advisor employees, and that he has not yet "ironed out" how they

11   Seery Deposition, Jan. 20, 2021, p. 91 ¶¶ 4-8.
12   Id. at p. 110, ¶¶ 6-13.

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will be replaced. The Debtor's Plan proposes a two year wind down of all "Managed Funds" which

include the Managed CLOs. The Debtor's Disclosure Statement reveals a 42% decrease in the value

of the Debtor's assets from the petition date to September 1, 2020. The Debtor failed to have its

99.95% owned subsidiary remit payments due to CLO Holdco under certain note obligations for 11

months before CLO Holdco recognized the non-payment and made demand on the Debtor.

Needless to say, CLO Holdco has a meritorious desire to simply preserve its contractual rights under

the CLO Management Contracts. If it meets all necessary conditions precedent to remove the

Debtor as manager of the Managed CLOs under the CLO Management Contracts, it should be

entitled to pursue that relief within the confines of applicable law, the terms of the contracts, and in

accordance with section 362 of the Bankruptcy Code pre-confirmation. The Debtor's proposed

injunction would not preserve the status quo. It would deprive CLO Holdco of the benefit of its

third party beneficiary rights under the very CLO Management Contracts that the Debtor intends to

assume.

       16.     While the Debtor alleges that CLO Holdco's participation in a total of three letters is

evidence of some grand conspiracy against the Debtor it simply is not. From CLO Holdco's

perspective, preserving its rights under the CLO Management Contracts is not conspiracy, but

common sense.

                                              III.
                                     Arguments & Authorities

A.     The Debtor is not entitled to a mandatory injunction against CLO Holdco because it
       cannot show all four factors supporting injunctive relief.

       17.     "Injunctive relief is an extraordinary and drastic remedy, and should only be granted

when the movant has clearly carried the burden of persuasion." Anderson v. Jackson, 556 F.3d 351,

360 (5th Cir. 2009) (internal quotation marks omitted). The decision to grant a preliminary


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injunction "is to be treated as the exception rather than the rule." See, e.g., Guy Carpenter & Co. v.

Provenzale, 334 F.3d 459, 464 (5th Cir. 2003); Blake Fire Fighters Ass'n of Dallas v. City of Dallas, Tex.,

905 F.2d 63, 65 (5th Cir. 1990) (affirming denial of preliminary injunction).

        18.           By its Motion, the Debtor must demonstrate all of the following elements in order to

obtain injunctive relief:

              (i)        A substantial likelihood of success on the merits, on the Debtor's alleged
                         claim for tortious interference;

              (ii)       A substantial threat that the Debtor will suffer irreparable injury if the
                         injunctive relief is not granted;

              (iii)      That the threatened injury to the Debtor outweighs any damages that the
                         preliminary injunctive relief might cause to CLO Holdco or any of the
                         other named Defendants in this adversary proceeding; and

              (iv)       That the relief sought will not disserve the public interest.

See Nichols v. Alcatel USA, Inc., 532 F.3d 364, 372 (5th Cir. 2008) (affirming denial of motion for

preliminary injunction). Absent the requisite showing of all four of these requirements, the Court

should decline to issue injunctive relief to the Debtor. See Avmed Inc. v. BrownGreer PLC, 300 F. App'x

261, 264 (5th Cir. 2008) (affirming denial of preliminary injunction).

B.      The Debtor cannot plausibly demonstrate a likelihood of success on its claims
        against CLO Holdco for tortious interference with contract or violation of the
        automatic stay.

        19.           In support of its Motion, the Debtor posits in conclusory fashion that CLO

Holdco's joinder to the December 2020 Letters to the Debtor constitute "tortious interference with

the Debtor's CLO Management Contracts" that are indisputable violations of the automatic stay

because "they are in writing". Adv. Dkt. 6, at ¶37. The Debtor's position is nonsensical because, as

Seery testified, CLO Holdco has not taken any actions to affirmatively replace the Debtor as servicer




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or any other actions constituting interference with the Debtor's ordinary course of business.13 Other

than CLO Holdco joining in sending the December 2020 letters, which Seery acknowledged did not

cause the Debtor to breach any contracts, the Debtor has not identified any other actions by or on

behalf of CLO Holdco that actually interfered with any of the Debtor's contracts or that resulted in

a breach of contract giving rise to damages.14

            20.       The Debtor's claim that CLO Holdco violated the stay is equally meritless because it

is founded on the same conclusory assertions supporting the Debtor's implausible tortious

interference theory. There is no substantial likelihood that the Debtor will prevail in demonstrating

that CLO Holdco's conduct violated the automatic stay because delivering the December 2020

Letters does not run afoul of any provision of section 362 of the Bankruptcy Code. See 11 U.S.C. §

362. The December 2020 Letters contained requests, not demands, and recognized that despite the

requests, the Debtor had authority to continue making CLO sales. Further, the December 2020

Letters noted that any action taken to remove the Debtor as manager of the Managed CLOs would

comply with the automatic stay. Even more importantly, CLO Holdco did not take any efforts to

actually remove the Debtor as manager of the Managed CLOs. CLO Holdco's actions cannot

plausibly constitute a stay violation.

            21.       The Debtor is seeking injunctive relief that "goes well beyond simply maintaining the

status quo [during litigation]" and "is particularly disfavored, and should not be issued unless the

facts and law clearly favor the moving party." Three Expo Events, LLC v. City of Dallas, 182 F. Supp.

3d 614, 622 (N.D. Tex. 2016) (internal quotation marks omitted); see also Justin Indus., Inc. v. Choctaw

Sec., L.P., 902 F.2d 262, 268 n.7 (5th Cir. 1990) (party seeking mandatory injunction "bears the

burden of showing a clear entitlement to the relief under the facts and the law"); Tate v. Am. Tugs,

13   Seery Deposition, Jan. 20, 2021, p. 67 ¶ 24 – p. 68 ¶ 6.
14   Id. at p. 62 ¶¶ 12-24; p. 94 ¶¶ 5-14.

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Inc., 634 F.2d 869, 870 (5th Cir. 1981) ("Only in rare instances is the issuance of a mandatory

preliminary injunction proper."). The irony is that by joining the December 2020 Letters to the

Debtor, CLO Holdco's written requests that the Debtor not liquidate CLO assets has the practical

effect of maintaining the status quo, to stop the forced liquidation of the CLO assets that CLO

Holdco owns majority and/or supermajority interests in, prior to the upcoming confirmation

hearing. Other than the Debtor's rejection of the requests made in the letters, the Debtor has not

identified any additional actions or other bases that allegedly constitute tortious interference with

contract, stay violations, nor any resulting breach of contract causing any harm whatsoever, let alone

the "irreparable harm" required for an injunction.

C.      There is no evidence of irreparable harm to the Debtor.

        22.     The Debtor must satisfy the irreparable harm element with independent proof, or no

injunction may issue. White v. Carlucci, 862 F.2d 1209, 121 (5th Cir. 1989); Am. Telnet, Inc. v. GTE

Corp., No. CIV. A.3:99-cv-028D, 1999 WL 242686, at *2 (N.D. Tex. Apr. 16, 1999) ("Clearly

demonstrating irreparable harm is a heavy burden to overcome."). "Mere injuries, however

substantial, in terms of money, time and energy necessarily expended in the absence of [an

injunction] are not enough," because "the possibility that adequate compensatory or other corrective

relief will be available at a later date, in the ordinary course of litigation, [weighs] heavily against a

claim of irreparable harm." Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir.

2012) (quoting Morgan v. Fletcher, 518 F.2d 236, 240 (5th Cir. 1975)).

        23.     "The general rule [is] that contract claims do not create a right to injunctive relief."

King v. Hawgwild Air, LLC, Civil Action No. 3:08-cv-0153-L, 2008 WL 11347424, at *2 (N.D. Tex.

Feb. 22, 2008). The Debtor's naked assertions of tortious interference and a stay violation, even if

true and supported by competent evidence, are both actionable at law for compensatory damages,


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which necessarily negates the propriety of an injunction even assuming arguendo that CLO Holdco's

conduct gives rise to any cause of action.

D.          The purported injury to the Debtor does not outweigh the likely damage suffered by
            CLO Holdco.

            24.      The injury CLO Holdco would allegedly suffer if the Court were to grant the

extraordinary relief sought by the Debtor continues to greatly outweigh any potential damage that

the Debtor would incur. Should this Court grant the Debtor's Motion, an injunction would deprive

CLO Holdco of its contractual right to potentially replace the Debtor as the manager of its

investments in the CLOs to the tune of millions of dollars. As detailed above, even Mr. Seery

acknowledges that CLO Holdco should not have to suffer such an injunction should certain "cause"

arise for the removal of the Debtor as manager.

            25.      CLO Holdco has consistently expressed its intent to act in accordance with the terms

of the Debtor's CLO Management Contracts. Those terms necessarily include CLO Holdco's rights

to receive the benefits of its bargain from its investments which include CLO Holdco's right to vote

whether to terminate the Debtor's management of the Managed CLOs where it meets the criteria to do so

under the CLO Management Contracts, such as a showing of "cause" as set forth in the CLO

Management Contracts.

            26.      While CLO Holdco has $45 million of interests at stake, Mr. Seery testified that the

Debtor earns about $4.8 million in revenue—not profit—from the CLO Management Contracts.15

It is readily apparent that the Debtor's actions in this adversary proceeding are purely about

preserving a revenue stream, even at the expense of the rights of a party for whose benefit the

Debtor is managing the Managed CLOs. Moreover, while readily acknowledging future advisor

turnover, the Debtor would preclude CLO Holdco from seeking to preserve the value of its

15   Seery Deposition, Jan. 20, 2021, p. 19 ¶¶ 7-10.

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investments by stripping it of a right intended to protect it from abusive behavior by a manager.

This Court should decline to issue any injunction, and decline the Debtor's suggestion to effectively

rewrite the terms of the CLO Management Contracts in a manner that would deprive CLO Holdco

of its express contractual rights.

E.      The relief the Debtor seeks will not serve the public interest.

        27.     Under the circumstances, the public interest in this proceeding lies with CLO

Holdco. CLO Holdco is an investor with millions of dollars of interests in CLOs managed by the

Debtor. The Debtor owes duties to CLO Holdco as an investor in the Managed CLOs. The

Debtor is party to an agreement that entitles investors like CLO Holdco to vote to remove a

manager for cause, in most instances, and without cause, in other instances. Here, the Debtor is

attempting to deprive one of the investors of its rights under CLO Management Contracts in the

hopes of preserving its own revenue stream. This is akin to the manager of your 401(k) seeking to

enjoin you from having a different manager manage your account because he doesn't want to lose

the fees he's currently earning from your portfolio. The public interest cannot be served by

undermining CLO Holdco's contractual rights under the guise of protecting one of the Debtor's

revenue streams.

                                          V.
                 RESERVATION OF RIGHT TO ASSERT ADDITIONAL ARGUMENTS

        28.     CLO Holdco expressly reserves the right to assert any additional arguments in

response to Debtor's request for injunctive relief, including but not limited to any arguments

asserted by any other defendant in this case.

                                               VI.
                                OBJECTIONS TO SEERY DECLARATION




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          29.   CLO Holdco objects to any consideration of the declaration submitted by Seery

("Seery Declaration") in support of the Debtor's request for injunctive relief. CLO Holdco further

asserts the following specific objections to the Seery Declaration.

          30.   As a threshold matter, CLO Holdco objects to the numerous statements in the Seery

Declaration that are asserted "on information and belief." Such assertions clearly lack foundation,

are not based on personal knowledge and/or are speculative. Statements "on information and belief"

have no place in a declaration submitted under penalty of perjury and should be given no evidentiary

weight.

          31.   The statements in Paragraphs 3, 4, 19, 21, 26 and 31 describing any actions by CLO

Holdco as a "threat" or "threatening" are argumentative, constitute improper opinions and do no

accurately describe the letters at issue, all of which speak for themselves.

          32.   The statement in Paragraph 3 of the Seery Declaration that Dondero "directly or

indirectly … owns and/or effectively controls CLO Holdco" is not based on personal knowledge,

lacks foundation, is speculative and is conclusory.

          33.   The statement in Paragraph 3 that "the Defendants have interfered with and

impeded the Debtor's business" is vague, ambiguous, lacking in foundation, constitutes an improper

legal conclusion and/or opinion, and is conclusory.

          34.   The statements in the sentence in Paragraph 4 beginning with the phrase "I am

advised" are hearsay, lacking foundation, constitute improper legal conclusions and/or opinions,

and/or are conclusory.

          35.   Paragraph 5 lacks foundation, is speculative and/or conclusory.




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       36.     The statement in Paragraph 12 that "ultimate decisions are in the control of Mr.

Scott who acts substantially at Mr. Dondero’s direction" lacks foundation and is both speculative

and conclusory.

       37.     The statement in Paragraph 19 that "I also understand that the Defendants’ actions

and threatened actions implicate the Order Granting Debtor’s Motion for a Temporary Restraining Order

against James Dondero" is hearsay, lacking foundation, constitutes an improper legal conclusion and/or

opinion, and/or is conclusory.

       38.     The statement in Paragraph 21 that "Defendants have either interfered with or

impeded the Debtor's business" lacks foundation and is conclusory.

       39.     The statements in Paragraph 21 beginning with the phrase "I am advised" are

hearsay, lack foundation, constitute improper legal conclusions and/or opinions, and/or are

conclusory.

       40.     The statement in Paragraph 28 that "Mr. Dondero owns and/or effectively controls

the Defendants" lacks foundation and is speculative and/or conclusory.

       41.     All statements in Paragraph 29 that are prefaced with the phrase "I understand" are

hearsay, lack personal knowledge, and lack foundation.

       42.     The statement in Paragraph 32 that Mr. Dondero "indisputably owns and/or

effectively controls" CLO Holdco lacks foundation and is speculative and/or conclusory.

       43.     The statement in Paragraph 33 suggesting that CLO Holdco has interfered with

and/or impeded the Debtor's business lacks foundation and is speculative and/or conclusory.

                                               VII.
                                              PRAYER




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        CLO Holdco respectfully prays that the Court deny the Debtor's Motion in its entirety,

decline to grant injunctive relief to Debtor and decline to enjoin CLO Holdco from any conduct,

and grant such other relief, at law or in equity, to which it may be entitled.


                                                 Respectfully submitted,

                                                 KANE RUSSELL COLEMAN LOGAN PC

                                                By:      /s/John J. Kane
                                                         John J. Kane
                                                         State Bar No. 24066794
                                                         Brian W. Clark
                                                         State Bar No. 24032075

                                                 901 Main Street
                                                 Suite 5200
                                                 Dallas, Texas 75202
                                                 Telephone - (214) 777-4200
                                                 Telecopier - (214) 777-4299
                                                 Email: jkane@krcl.com
                                                 Email: bclark@krcl.com

                                                 ATTORNEYS FOR DEFENDANT CLO
                                                 HOLDCO, LTD.



                                   CERTIFICATE OF SERVICE

       This is to certify that on the January 23, 2021, a true and correct copy of the foregoing has
been served by ECF on all counsel of record.

                                                      /s/ John J. Kane
                                                          John J. Kane




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